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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 CHRISTOPHER MCNAUGHTON, A                                         CIVIL ACTION
 PENNSYLVANIA CITIZEN
                                                                   NO. 21-3802
 v.

 UNITED HEALTHCARE INSURANCE
 COMPANY, A CONNECTICUT CORP. &
 UNITED HEALTHCARE, INC., A
 DELAWARE CORP.

                                               SCHEDULING ORDER

          AND NOW, this 17th day of November, 2021, after a pretrial conference pursuant to

Rule 16, Federal Rules of Civil Procedure:

1.        Discovery deadline:                 7/15/2022             .

2.        Exchange of expert reports pursuant to Rule 26(a)(2).

          Plaintiff:                5/16/2022           .

          Defendant:                 6/15/2022         .

3.        Magistrate Judge David Strawbridge will contact counsel as to whether settlement

          discussions have taken place and to schedule a settlement conference.

4.        Deadline for dispositive motions:                       8/18/2022          .

5.        Pretrial Memoranda filed and served pursuant to Local Rule 16.1(c), and service of a

          copy of trial exhibits:

          Plaintiff:                 9/1/2022          .

          Defendant:                 9/15/2022          .

6.        Date for trial or entry into trial pool:               10/03/2022               .

          The parties shall follow Judge Baylson’s pretrial and trial procedures.

                                                                        BY THE COURT:

                                                                        /s/ MICHAEL M. BAYLSON
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                                                                        MICHAEL M. BAYLSON, U.S.D.J.
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